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 Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &       FOR COURT USE ONLY
 Email Address

 Holly Roark (SBN 234638)
 ROARK LAW OFFICES
 950 Bannock St. Ste. 1100
 Boise, ID 83702
 T (310) 553-2600
 F (310) 553-2601
 holly@roarklawoffices.com




      Individual appearing without attorney
      Attorney for: Synoptek, LLC

                                       UNITED STATES BANKRUPTCY COURT
                         CENTRAL DISTRICT OF CALIFORNIA - SAN FERNANDO VALLEY DIVISION
                                                                              DIVISION

 In re:                                                                       CASE NO.: 1:24-bk-10646-MB

SYNAPSE FINANCIAL TECHNOLOGIES, INC.,                                         CHAPTER: 11

                                                                              NOTICE OF MOTION FOR:
                                                                              ENTRY OF AN ORDER ALLOWING AND COMPELLING
                                                                              PAYMENT OF ADMINISTRATIVE EXPENSE CLAIM




                                                                              (Specify name of Motion)

                                                                              DATE: 09/27/2024
                                                                              TIME: 1:30 pm
                                                                              COURTROOM: 303
                                                                              PLACE: 21041 Burbank Boulevard
                                                                                       Woodland Hills, CA 91367
                                                              Debtor(s).

                       Debtor, DIP, Chapter 11 Trustee, Unsecured Creditors Committee, All Interested Parties
1. TO (specify name): _____________________________________________________________________________

2. NOTICE IS HEREBY GIVEN that on the following date and time and in the indicated courtroom, Movant in the above-
   captioned matter will move this court for an Order granting the relief sought as set forth in the Motion and
   accompanying supporting documents served and filed herewith. Said Motion is based upon the grounds set forth in
   the attached Motion and accompanying documents.

3. Your rights may be affected. You should read these papers carefully and discuss them with your attorney, if you
   have one. (If you do not have an attorney, you may wish to consult one.)




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4. Deadline for Opposition Papers: This Motion is being heard on regular notice pursuant to LBR 9013-1. If you wish
   to oppose this Motion, you must file a written response with the court and serve a copy of it upon the Movant or
   Movant’s attorney at the address set forth above no less than fourteen (14) days prior to the above hearing date. If
   you fail to file a written response to this Motion within such time period, the court may treat such failure as a waiver of
   your right to oppose the Motion and may grant the requested relief.

5. Hearing Date Obtained Pursuant to Judge’s Self-Calendaring Procedure: The undersigned hereby verifies that
   the above hearing date and time were available for this type of Motion according to the judge’s self-calendaring
   procedures.


Date: 08/16/2024                                                               Roark Law Offices
                                                                               Printed name of law firm




                                                                               /s/ Holly Roark
                                                                                Signature


                                                                               Holly Roark
                                                                               Printed name of attorney




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                                       PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
 950 Bannock St. Ste. 1100 Boise, ID 83702


A true and correct copy of the foregoing document entitled: NOTICE OF MOTION FOR (specify name of motion)
 ENTRY OF AN ORDER ALLOWING AND COMPELLING PAYMENT OF ADMINISTRATIVE EXPENSE CLAIM
_______________________________________________________________________________________________
_______________________________________________________________________________________________
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
08/16/2024 , I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:




                                                                                          Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) 08/16/2024 , I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.




                                                                                          Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)                  , I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                          Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


 08/16/2024        Holly Roark                                                       /s/Holly Roark
 Date                      Printed Name                                                     Signature


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                                  ATTACHMENT TO PROOF OF SERVICE

1.TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):

     •    Raymond O Aghaian on behalf of Creditor TClub Inc.
          raghaian@kilpatricktownsend.com,
          ndelman@kilpatricktownsend.com;moroberts@ktslaw.com;tmeyers@ktslaw.com;jbusche
          @ktslaw.com
     •    Ron Bender on behalf of Debtor Synapse Financial Technologies, Inc.
          rb@lnbyg.com
     •    David A Berkley on behalf of Interested Party MongoDB, Inc.
          david.berkley@wbd-us.com, mary.koo@wbd-us.com;Sul.Lee@wbd-us.com
     •    J Scott Bovitz on behalf of Creditor EarnUp inc.
          bovitz@bovitz-spitzer.com
     •    J Scott Bovitz on behalf of Creditor EarnUp, LLC
          bovitz@bovitz-spitzer.com
     •    Rudy J Cerone on behalf of Creditor SoLo Funds, Inc.
          rcerone@mcglinchey.com, lgraff@mcglinchey.com;jingargiola@mcglinchey.com
     •    Sara Chenetz on behalf of Interested Party Courtesy NEF
          schenetz@perkinscoie.com,
          docketLA@perkinscoie.com;cmallahi@perkinscoie.com;jkulow@perkinscoie.com;chene
          tz-sara-perkins-coie-8670@ecf.pacerpro.com;rleibowitz@perkinscoie.com
     •    Russell Clementson on behalf of U.S. Trustee United States Trustee (SV)
          russell.clementson@usdoj.gov
     •    Andrew Michael Cummings on behalf of Creditor Cigna Health and Life Insurance
          Company
          andrew.cummings@hklaw.com,
          philip.dobbs@hklaw.com;hapi@hklaw.com;reena.kaur@hklaw.com
     •    Michael G. Farag on behalf of Creditor Mercury Technologies, Inc.
          mfarag@gibsondunn.com
     •    Paul R. Glassman on behalf of Creditor Lineage Bank
          pglassman@stradlinglaw.com
     •    Nicholas Christian Glenos on behalf of Creditor Lineage Bank
          cglenos@bradley.com
     •    Michael H Goldstein on behalf of Creditor YieldStreet Inc
          mgoldstein@goodwinprocter.com, ASchaefer@goodwinlaw.com
     •    Michael I. Gottfried on behalf of Creditor Yotta Technologies, Inc.
          mgottfried@elkinskalt.com,
          cavila@elkinskalt.com,lwageman@elkinskalt.com,docketing@elkinskalt.com


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     •    Michael I. Gottfried on behalf of Interested Party Courtesy NEF
          mgottfried@elkinskalt.com,
          cavila@elkinskalt.com,lwageman@elkinskalt.com,docketing@elkinskalt.com
     •    Steven T Gubner on behalf of Interested Party Courtesy NEF
          sgubner@bg.law, ecf@bg.law
     •    Ralph P Guenther on behalf of Creditor Capital J Inc. d/b/a Juno
          rguenther@guentherlawgroup.com
     •    Robert T. Honeywell on behalf of Creditor TabaPay Holdings LLC
          robert.honeywell@klgates.com
     •    Robert T. Honeywell on behalf of Creditor TabaPay, Inc.
          robert.honeywell@klgates.com
     •    Lance N Jurich on behalf of Creditor American Bank, N.A.
          ljurich@loeb.com,
          pmatsuda@loeb.com;ladocket@loeb.com;ljurich@ecf.courtdrive.com;fmckeown@loeb.c
          om
     •    Jane Kim on behalf of Trustee Jelena McWilliams (TR)
          jkim@kellerbenvenutti.com
     •    Monica Y Kim on behalf of Debtor Synapse Financial Technologies, Inc.
          myk@lnbyg.com, myk@ecf.inforuptcy.com
     •    Jeffrey C Krause on behalf of Creditor Mercury Technologies, Inc.
          jkrause@gibsondunn.com, dtrujillo@gibsondunn.com;jstern@gibsondunn.com
     •    William J Levant on behalf of Interested Party William Levant
          wlevant@kaplaw.com, wlevant@gmail.com
     •    Adam A Lewis on behalf of Creditor Silicon Valley Bank
          alewis@mofo.com, adam-lewis-3473@ecf.pacerpro.com
     •    Jelena McWilliams (TR)
          jmcwilliams@cravath.com, mao@cravath.com
     •    Krikor J Meshefejian on behalf of Debtor Synapse Financial Technologies, Inc.
          kjm@lnbyg.com
     •    Fred Neufeld on behalf of Creditor Lineage Bank
          fneufeld@stradlinglaw.com, tingman@sycr.com
     •    Valerie Bantner Peo on behalf of Interested Party Courtesy NEF
          vbantnerpeo@buchalter.com
     •    David M Poitras on behalf of Interested Party Courtesy NEF
          dpoitras@bg.law
     •    David M Poitras on behalf of Interested Party Evolve Bank & Trust
          dpoitras@bg.law



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     •    Jeremy V Richards on behalf of Trustee Jelena McWilliams (TR)
          jrichards@kbkllp.com, bdassa@pszjlaw.com;imorris@pszjlaw.com
     •    Holly Roark on behalf of Creditor Synoptek, LLC
          holly@roarklawboise.com, RoarkLawOffices@jubileebk.net
     •    Paul M Rosenblatt on behalf of Creditor TClub Inc.
          prosenblatt@kilpatricktownsend.com, moroberts@ktslaw.com
     •    Thomas B Rupp on behalf of Trustee Jelena McWilliams (TR)
          trupp@kbkllp.com
     •    Brandy A Sargent on behalf of Creditor TabaPay Holdings LLC
          brandy.sargent@klgates.com,
          litigation.docketing@klgates.com;janna.leasy@klgates.com
     •    Brandy A Sargent on behalf of Creditor TabaPay, Inc.
          brandy.sargent@klgates.com,
          litigation.docketing@klgates.com;janna.leasy@klgates.com
     •    Callan C Searcy on behalf of Creditor Texas Comptroller of Public Accounts, Revenue
          Accounting Division and Texas Workforce Commission
          bk-csearcy@texasattorneygeneral.gov
     •    Zev Shechtman on behalf of Creditor Committee Official Committee of Unsecured
          Creditors of Synapse Financial Technologies, Inc.
          Zev.Shechtman@saul.com,
          zshechtman@ecf.inforuptcy.com;easter.santamaria@saul.com
     •    Jason D Strabo on behalf of Creditor TriplePoint Capital, LLC
          jstrabo@mwe.com, jbishopjones@mwe.com
     •    United States Trustee (SV)
          ustpregion16.wh.ecf@usdoj.gov
     •    Jeffrey C Wisler on behalf of Creditor Cigna Health and Life Insurance Company
          jwisler@connollygallagher.com, dperkins@connollygallagher.com
     •    Claire K Wu on behalf of Interested Party AMG National Trust Bank
          claire.wu@pillsburylaw.com, renee.evans@pillsburylaw.com;docket@pillsburylaw.com
     •    Beth Ann R. Young on behalf of Debtor Synapse Financial Technologies, Inc.
          bry@lnbyg.com, bry@lnbyb.com
     •    Beth Ann R. Young on behalf of Interested Party Courtesy NEF
          bry@lnbyg.com, bry@lnbyb.com




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2. SERVED BY UNITED STATES MAIL:

 DEBTOR                                                             AGENT FOR SERVICE OF PROCESS FOR
 Synapse Financial Technologies, Inc.                               DEBTOR
 21255 Burbank Boulevard Suite 120                                  1505 Corporation National Registered
 Woodland Hills, CA 91367-0000                                      Agents, Inc.
                                                                    Amanda Garcia
                                                                    330 N Brand Blvd
                                                                    Glendale, CA 91203

 COUNSEL FOR DEBTOR                                                 CHAPTER 11 TRUSTEE
 Levene, Neale, Bender, Yoo & Golubchik                             Jelena McWilliams (TR)
 LLP                                                                Cravath, Swaine & Moore LLP
 2818 La Cienega Avenue                                             Two Manhattan West
 Los Angeles, CA 90034                                              375 Ninth Avenue
                                                                    New York, NY 10001

 COUNSEL FOR CHAPTER 11 TRUSTEE                                     COUNSEL FOR CHAPTER 11 TRUSTEE
 Alexander Gerten                                                   Benjamin Gruenstein
 Cravath, Swaine & Moore LLP                                        Cravath, Swaine & Moore LLP
 Two Manhattan West                                                 2 Manhattan West
 375 9th Avenue                                                     375 9th Avenue
 New York, NY 10001                                                 New York, NY 10001




 COUNSEL FOR CHAPTER 11 TRUSTEE                                     COUNSEL FOR CHAPTER 11 TRUSTEE
 Paul H Zumbro                                                      John D Buretta
 Cravath, Swaine & Moore LLP                                        Cravath, Swaine & Moore LLP
 2 Manhattan West                                                   2 Manhattan West
 375 9th Avenue                                                     375 9th Avenue
 New York, NY 10001                                                 New York, NY 10001


 COUNSEL FOR OFFICIAL UNSECURED                                     COUNSEL FOR OFFICIAL UNSECURED
 CREDITORS’ COMMITTEE OF SYNAPSE                                    CREDITORS’ COMMITTEE OF SYNAPSE
 FINANCIAL TECHNOLOGIES, INC.                                       FINANCIAL TECHNOLOGIES, INC.
 Zev Schechtman                                                     Benjamin Waisbren
 Carol Chow                                                         John Kucera
 Saul Ewing LLP                                                     Boies Schiller Flexner LLP
 1888 Century Park East Ste 1500                                    1401 New York Avenue, N.W.
 Los Angeles, CA 90067                                              Washington, DC 2005




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 COUNSEL FOR TRIPLEPOINT CAPITAL,                                   Darren Azman
 LLC                                                                One Vanderbilt Avenue
 Jake Jumbeck                                                       New York, NY 10017-3852
 McDermott Will & Emery LLP
 444 W. Lake Street, Suite 4000
 Chicago, CA 60606-0029

 Robert J Labate                                                    Neda Shapourian
 400 South Hope Street, 8th Floor                                   Unit21, Inc.
 Los Angeles, CA 90071                                              49 Geary St. Ste 200
                                                                    San Francisco, CA 94108




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